         Case 24-03611-jd        Doc 122     Filed 05/13/25 Entered 05/13/25 13:05:51           Desc Main
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                                                  OFFICE OF THE CLERK

                                UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF SOUTH CAROLINA
                                  J. BRATTON DAVIS UNITED STATES BANKRUPTCY COURTHOUSE
                                                     1100 LAUREL STREET
                                            COLUMBIA, SOUTH CAROLINA 29201-2423
                                                   TELEPHONE 803-765-5436
www.scb.uscourts.gov


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                                                    May 13, 2025

 Jacqueline Elizabeth Ard
 239 Beach City Rd, Unit 3218
 Hilton Head, SC 29926


 RE:              In re Jacqueline Elizabeth Ard and Terry Frank Nicola
                  Bankr. Case No. 24-03611-JD


Dear Jacqueline Elizabeth Ard:

         This letter is in reference to your “Notice of Appeal” which was filed May 13, 2025.

        Federal Rule of Bankruptcy Procedure 8003 provides that “[a]n appeal from a judgment, order, or decree
of a bankruptcy court to a district court… under 28 U.S.C. § 158(a)(1) or (a)(2) may be taken only by filing a
notice of appeal with the bankruptcy clerk within the time allowed by Rule 8002.” “The notice of appeal must:
(A) conform substantially to the appropriate Official Form; (B) be accompanied by the judgment, order, or decree,
or the part of it, being appealed; and (C) be accompanied by the prescribed fee.

       The document you submitted was not accompanied by the required filing fee of $298.00 required by 28
U.S.C. § 1930.

         Please submit the required total filing fee on or before May 23, 2025.

         Thank you in advance.


                                                        Lauren T Maxwell, Clerk of Court
                                                        United States Bankruptcy Court

                                                        BY:_s/ P. Barnello________________________
                                                          P. Barnello, Deputy Clerk
